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                                    UNITED STATES DISTRICT COURT
 8                                 WESTERN DISTRICT OF WASHINGTON
                                             AT SEATTLE
 9
      UNITED STATES OF AMERICA,
10
                            Plaintiff,
11                                                             CASE NO. CR04-351C
              v.
12                                                             ORDER
      JEFFREY ABRAHAM,
13
                            Defendant.
14

15
             This matter comes before the Court on Defendant Jeffrey Abraham’s Motion to Withdraw his
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     Plea of Guilty (Dkt. No. 38). The Court hereby GRANTS the motion. Defendant may withdraw his
17
     plea.
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             SO ORDERED this 24th day of June, 2005.




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                                                       UNITED STATES DISTRICT JUDGE
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26   ORDER – 1
